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                         Exhibit 2



                      Forms of Ballot
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    STANADYNE LLC, LLC.,1                                   Case No. 23-10207 (TMH)
                                                            (Jointly Administered)
                       Debtor.


                       CLASS 3 (CERBERUS DEFICIENCY CLAIM) BALLOT
                         FOR ACCEPTING OR REJECTING COMBINED
                     DISCLOSURE STATEMENT AND PLAN OF LIQUIDATION

        PLEASE TAKE NOTICE THAT on September _, 2023, the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”)2 entered an Order granting the Motion
of the Official Committee of Unsecured Creditors (the “Committee”) (i) Approving on an Interim
Basis the Adequacy of Disclosures in the Combined Plan and Disclosure Statement (as may be
modified, amended, or supplemented from time to time, the “Plan”), (ii) Scheduling the
Confirmation Hearing and Deadline for Filing Objections, (iii) Establishing Procedures for
Solicitation and Tabulation of Votes to Accept or Reject the Combined Plan and Disclosure
Statement, and Approving the Form of Ballot and Solicitation Package, and (iv) Approving the
Notice Provisions (the “Solicitation Procedures Order”). A copy of the Solicitation Procedures
Order is available on the Bankruptcy Court’s website (ecf.deb.uscourts.gov) or upon request from
the Committee’s counsel (scerra@morrisjames.com).

        This ballot is being provided to you because records indicate that you are a Holder of a
Class 3 Claim (Cerberus Deficiency Claim) as of September 25, 2023 (the “Voting Record Date”),
and, accordingly, you may have a right to vote to accept or reject the Plan. This Ballot may not be
used for any purpose other than for submitting votes with respect to the Plan.

        ANY BALLOTS SUBMITTED MUST BE ACTUALLY RECEIVED NO LATER
           THAN OCTOBER 26, 2023, AT 4:00 P.M. (ET) (the “Voting Deadline”).


       Your rights are described in the Plan. Please read the Plan and follow the enclosed
voting instructions carefully before completing this ballot. You may wish to seek legal advice
concerning this Ballot, the Plan, and your treatment under the Plan.

             You must submit your ballot to Kurtzman Carson Consultants LLC, the Committee’s


1         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings,
Inc. (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White
Street, Jacksonville, North Carolina 28546.
2
             Capitalized terms used but not otherwise defined herein shall have meanings ascribed to them in the Plan.
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Voting Agent (the “Voting Agent”), by mail, hand delivery or overnight delivery to the address
below. Alternatively, Ballots may be submitted through the Voting Agent’s online Ballot
submission portal at


                https://www.kccllc.net/stanadyne
          The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you
if it is accepted by the Holders of at least two-thirds in amount and more than one-half in number
of claims in at least one class that votes on the Plan and if the Plan otherwise satisfies the
requirements for confirmation provided by section 1129(a) of the Bankruptcy Code.

     THIS BALLOT MUST BE ACTUALLY RECEIVED BY 4:00 P.M. (EASTERN
TIME) ON OCTOBER 26, 2023.

         If the Bankruptcy Court confirms the Plan, it will bind you regardless of whether you have
voted.

       No person has been authorized to give any information or advice, or to make any
representation, other than what is included in the materials delivered with this ballot.

       Your rights are described in the Plan. Please read and follow the enclosed voting
instructions carefully before completing this ballot.

Item 1.      Amount of Class 3 Claim (Cerberus Deficiency Claim)

       The undersigned hereby certifies that as of September 25, 2023, the undersigned was the
owner (or authorized signatory for an owner) of a Cerberus Deficiency Claim in the following
principal amount (insert amount in box below).


                           $ ___________________________________


Item 2.      Vote of Class 3 Claim

         The Holder of the Class 3 Claim set forth in Item 1 votes to (please check one):

          Accept the Plan (votes FOR)                   Reject the Plan (votes AGAINST)
                        ☐                                                ☐




                                                 2
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 Item 3.     Certifications.

Upon execution of this Ballot, the undersigned certifies that:

1.          as of the Voting Record Date, the undersigned was the owner (or authorized signatory
            for an owner) of a Class 3 Claim in the amount set forth in Item 1;

2.          the Holder is eligible to be treated as the Holder of the Class 3 Claim set forth in Item
            1 for the purposes of voting on the Plan;

3.          the Holder has received a copy of the Solicitation Package and acknowledges that the
            solicitation is being made pursuant to the terms and conditions set forth therein;

4.          the Holder has not relied on any statement made or other information received from
            any person with respect to the Plan other than the information contained in the
            Solicitation Package or other publicly available materials;

5.          the Holder understands and acknowledges that only the latest-dated Ballot cast and
            actually received by the Voting Deadline with respect to the Class 3 Claim set forth in
            Item 1 will be counted, and, if any other Ballot has been previously cast with respect
            to the Class 3 Claim set forth in Item 1, such other Ballot shall be deemed revoked;

6.          the Holder understands and acknowledges that the Debtor shall verify the amount of
            the Class 3 Claim held by the Holder as of the Voting Record Date set forth in Item 1.

7.          the Holder understands and acknowledges that all authority conferred or agreed to be
            conferred pursuant to this Ballot, and every obligation of the Holder hereunder, shall
            be binding upon the transferees, successors, assigns, heirs, executors, administrators,
            and legal representatives of the Holder and shall not be affected by, and shall survive,
            the death or incapacity of the Holder.
Holder Information and Signature.

Name of Holder: _______________________________________________________________
                                            (print or type)
                                              (optional)
Signature: _____________________________________________________________________

Name of Signatory: _____________________________________________________________
                                         (if other than Holder)

Title:     ______________________________________________________________________

Address: ______________________________________________________________________

           ______________________________________________________________________

           ______________________________________________________________________


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Date Completed: ______________________________________________________________

       PLEASE COMPLETE, SIGN, AND DATE THE BALLOT AND RETURN IT
      PROMPTLY BY MAIL, HAND DELIVERY OR OVERNIGHT DELIVERY TO

                                 Stanadyne Ballot Processing
                                           c/o KCC
                           222 N. Pacific Coast Highway, Suite 300
                                    El Segundo, CA 90245
                                U.S./Canada: (866) 967-0675
                                International: (310) 751-2675

      Alternatively, Ballots may be submitted through the Voting Agent’s
online Ballot submission portal at https://www.kccllc.net/stanadyne

     THIS BALLOT MUST BE ACTUALLY RECEIVED BY THE VOTING DEADLINE,
            WHICH IS 4:00 P.M. (EASTERN TIME) ON OCTOBER 26, 2023.

     IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
       INSTRUCTIONS, PLEASE CALL THE UNDERSIGNED COUNSEL FOR THE
                               COMMITTEE.

      VOTING INSTRUCTIONS FOR CLASS 3 (CERBERUS DEFICIENCY CLAIM)

1.     As described in the Plan, the Committee is soliciting the votes of Holders of Class 3 Claims
       with respect to the Plan. The Plan is included in the Solicitation Package you are receiving
       with the Ballot. Capitalized terms used but not defined herein shall have the meanings
       assigned to them in the Plan.

2.     The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you if
       it is accepted by the Holders of at least two-thirds in amount and more than one-half in
       number of claims in at least one class that votes on the Plan and if the Plan otherwise satisfies
       the requirements for confirmation provided by section 1129(a) of the Bankruptcy Code.

3.     To ensure that your vote is counted, you must: (a) complete the Ballot; (b) indicate your
       decision either to accept or reject the Plan in Item 3 of the Ballot; and (c) sign and return
       the Ballot in accordance with the instructions on the Ballot so that it is actually received
       by the Voting Deadline.

4.     The time by which a Ballot is actually received by the Voting Agent shall be the time
       used to determine whether a Ballot has been submitted by the Voting Deadline. The
       Voting Deadline October 26, 2023 at 4:00 p.m. (Eastern Time).

5.     If a Ballot is received after the Voting Deadline, it will not be counted unless the Committee
       determines otherwise or as permitted by the Bankruptcy Court. In all cases, Holders should



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     allow sufficient time to assure timely delivery. No Ballot should be sent to any party other
     than the Voting Agent at the address above.

6.   If multiple Ballots are received from an individual Holder with respect to the same Claim
     prior to the Voting Deadline, the last Ballot timely received will supersede and revoke any
     previously received Ballot.

7.   The Ballot is not a letter of transmittal and may not be used for any purpose other than to
     vote to accept or reject the Plan and to make certain certifications with respect thereto.

8.   The Ballot does not constitute, and shall not be deemed to be: (a) a proof of claim or interest;
     or (b) an assertion or admission with respect to any claim or interest.

9.   Please be sure to sign and date your Ballot. If you are completing the Ballot on behalf of an
     Entity, indicate your relationship with that Entity and the capacity in which you are signing.

10. You must vote your entire Class 3 Claim either to accept or reject the Plan and may not
    split your vote. Accordingly, a Ballot that partially rejects and partially accepts the Plan
    will not be counted.

11. Any Ballot that is properly completed, executed, and timely returned to the Voting Agent
    that fails to indicate acceptance or rejection of the Plan or that indicates both an acceptance
    and a rejection of the Plan will not be counted.

12. The following Ballots will not be counted in determining the acceptance or rejection of
    the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
    identification of the Holder; (b) any Ballot cast by a Person or Entity that does not hold a
    Claim or Interest in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot;
    (d) any Ballot not marked to accept or reject the Plan, or marked both to accept and reject
    the Plan, or marked to partially reject and partially accept the Plan; and/or (e) any Ballot
    submitted by a party not entitled to cast a vote with respect to the Plan.




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    STANADYNE LLC, LLC.,1                                   Case No. 23-10207 (TMH)
                                                            (Jointly Administered)
                       Debtor.


                       CLASS 4 (GENERAL UNSECURED CLAIMS) BALLOT
                         FOR ACCEPTING OR REJECTING COMBINED
                     DISCLOSURE STATEMENT AND PLAN OF LIQUIDATION

        PLEASE TAKE NOTICE THAT on September _, 2023, the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”)2 entered an Order granting the Motion
of the Official Committee of Unsecured Creditors (the “Committee”) (i) Approving on an Interim
Basis the Adequacy of Disclosures in the Combined Plan and Disclosure Statement (as may be
modified, amended, or supplemented from time to time, the “Plan”), (ii) Scheduling the
Confirmation Hearing and Deadline for Filing Objections, (iii) Establishing Procedures for
Solicitation and Tabulation of Votes to Accept or Reject the Combined Plan and Disclosure
Statement, and Approving the Form of Ballot and Solicitation Package, and (iv) Approving the
Notice Provisions (the “Solicitation Procedures Order”). A copy of the Solicitation Procedures
Order is available on the Bankruptcy Court’s website (ecf.deb.uscourts.gov) or upon request from
the Committee’s counsel (scerra@morrisjames.com).

       This ballot is being provided to you because records indicate that you are a Holder of a
Class 4 Claim (General Unsecured Claims) as of September 25, 2023 (the “Voting Record Date”),
and, accordingly, you may have a right to vote to accept or reject the Plan. This Ballot may not be
used for any purpose other than for submitting votes with respect to the Plan.

        ANY BALLOTS SUBMITTED MUST BE ACTUALLY RECEIVED NO LATER
           THAN OCTOBER 26, 2023 AT 4:00 P.M. (ET) (the “Voting Deadline”).


       Your rights are described in the Plan. Please read the Plan and follow the enclosed
voting instructions carefully before completing this ballot. You may wish to seek legal advice
concerning this Ballot, the Plan, and your treatment under the Plan.

             You must submit your ballot to Kurtzman Carson Consultants LLC, the Committee’s


1         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings,
Inc. (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White
Street, Jacksonville, North Carolina 28546.
2
             Capitalized terms used but not otherwise defined herein shall have meanings ascribed to them in the Plan.
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Voting Agent (the “Voting Agent”), by mail, hand delivery or overnight delivery to the address
below. Alternatively, Ballots may be submitted through the Voting Agent’s online Ballot
submission portal at


                https://www.kccllc.net/stanadyne
          The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you
if it is accepted by the Holders of at least two-thirds in amount and more than one-half in number
of claims in at least one class that votes on the Plan and if the Plan otherwise satisfies the
requirements for confirmation provided by section 1129(a) of the Bankruptcy Code.

     THIS BALLOT MUST BE ACTUALLY RECEIVED BY 4:00 P.M. (EASTERN
TIME) ON OCTOBER 26, 2023.

         If the Bankruptcy Court confirms the Plan, it will bind you regardless of whether you have
voted.

       No person has been authorized to give any information or advice, or to make any
representation, other than what is included in the materials delivered with this ballot.

       Your rights are described in the Plan. Please read and follow the enclosed voting
instructions carefully before completing this ballot.

Item 1.      Amount of Class 4 Claim (General Unsecured Claims)

       The undersigned hereby certifies that as of September 25, 2023, the undersigned was the
owner (or authorized signatory for an owner) of a General Unsecured Claim in the following
principal amount (insert amount in box below).


                           $ ___________________________________


Item 2.      Vote of Class 4 Claim

         The Holder of the Class 4 Claim set forth in Item 1 votes to (please check one):

          Accept the Plan (votes FOR)                   Reject the Plan (votes AGAINST)
                        ☐                                                ☐




                                                 2
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Item 3.     Opting Out of Class 4/into Class 5

         At any time prior to the Voting Deadline, any Holder of a General Unsecured Claim in
Class 4 may opt into Class 5, and any Holder of a Convenience Class Claim may opt into Class 4.
At any time prior to the Voting Deadline, a Holder of a Class 4 General Unsecured Claim (which
is, by definition, asserted for more than $20,000) may elect to have its claim treated as a Class 5
Convenience Class Claim. Upon such election, if no objection to the Allowance is pending on the
Effective Date, the Claim will be reduced in amount to $20,000, and will be deemed an Allowed
Convenience Class Claim (i.e., not be subject to an objection if its claim is not the subject of an
objection on the Effective Date) in that amount, and the Holder will receive a Distribution of 10%
(i.e., $2,000) on or as soon after the Effective Date as is reasonably practicable. Any Holder of a
Class 4 General Unsecured Claim that opts into Class 5 and to have its Claim treated as a
Convenience Class Claim will not receive any further distribution regardless of the Distributions
made to Allowed Class 4 General Unsecured Claims.

       You do not need to check the box below if you elect to have your Claim treated as a
Class 4 General Unsecured Claim.

           I elect to have my Claim treated as a Class 5 Convenience Class Claim
                                                ☐



Item 4.     Certifications.
Upon execution of this Ballot, the undersigned certifies that:

1.         as of the Voting Record Date, the undersigned was the owner (or authorized signatory
           for an owner) of a Class 4 Claim in the amount set forth in Item 1;

2.         the Holder is eligible to be treated as the Holder of the Class 4 Claim set forth in Item
           1 for the purposes of voting on the Plan;

3.         the Holder has received a copy of the Solicitation Package and acknowledges that the
           solicitation is being made pursuant to the terms and conditions set forth therein;

4.         the Holder has not relied on any statement made or other information received from
           any person with respect to the Plan other than the information contained in the
           Solicitation Package or other publicly available materials;

5.         the Holder understands and acknowledges that only the latest-dated Ballot cast and
           actually received by the Voting Deadline with respect to the Class 4 Claim set forth in
           Item 1 will be counted, and, if any other Ballot has been previously cast with respect
           to the Class 4 Claim set forth in Item 1, such other Ballot shall be deemed revoked;


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6.        the Holder understands and acknowledges that the Debtor shall verify the amount of
          the Class 4 Claim held by the Holder as of the Voting Record Date set forth in Item 1.

7.        the Holder understands and acknowledges that all authority conferred or agreed to be
          conferred pursuant to this Ballot, and every obligation of the Holder hereunder, shall
          be binding upon the transferees, successors, assigns, heirs, executors, administrators,
          and legal representatives of the Holder and shall not be affected by, and shall survive,
          the death or incapacity of the Holder.
Holder Information and Signature.

Name of Holder: _______________________________________________________________
                                          (print or type)
                                            (optional)
Signature: _____________________________________________________________________

Name of Signatory: _____________________________________________________________
                                       (if other than Holder)

Title:   ______________________________________________________________________

Address: ______________________________________________________________________

         ______________________________________________________________________

         ______________________________________________________________________

Date Completed: ______________________________________________________________

      PLEASE COMPLETE, SIGN, AND DATE THE BALLOT AND RETURN IT
     PROMPTLY BY MAIL, HAND DELIVERY OR OVERNIGHT DELIVERY TO

                             Stanadyne Ballot Processing
                                       c/o KCC
                       222 N. Pacific Coast Highway, Suite 300
                                El Segundo, CA 90245
                            U.S./Canada: (866) 967-0675
                            International: (310) 751-2675

      Alternatively, Ballots may be submitted through the Voting Agent’s
online Ballot submission portal at https://www.kccllc.net/stanadyne

    THIS BALLOT MUST BE ACTUALLY RECEIVED BY THE VOTING DEADLINE,
WHICH IS 4:00 P.M. (EASTERN TIME) ON OCTOBER 26, 2023.




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     IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
INSTRUCTIONS, PLEASE CALL THE UNDERSIGNED COUNSEL FOR THE COMMITTEE.
    VOTING INSTRUCTIONS FOR CLASS 4 (GENERAL UNSECURED CLAIMS)

1.   As described in the Plan, the Committee is soliciting the votes of Holders of Class 4 Claims
     with respect to the Plan. The Plan is included in the Solicitation Package you are receiving
     with the Ballot. Capitalized terms used but not defined herein shall have the meanings
     assigned to them in the Plan.

2.   The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you if
     it is accepted by the Holders of at least two-thirds in amount and more than one-half in
     number of claims in at least one class that votes on the Plan and if the Plan otherwise satisfies
     the requirements for confirmation provided by section 1129(a) of the Bankruptcy Code.

3.   To ensure that your vote is counted, you must: (a) complete the Ballot; (b) indicate your
     decision either to accept or reject the Plan in Item 3 of the Ballot; and (c) sign and return
     the Ballot in accordance with the instructions on the Ballot so that it is actually received
     by the Voting Deadline.

4.   The time by which a Ballot is actually received by the Voting Agent shall be the time
     used to determine whether a Ballot has been submitted by the Voting Deadline. The
     Voting Deadline October 26, 2023 at 4:00 p.m. (Eastern Time).

5.   If a Ballot is received after the Voting Deadline, it will not be counted unless the Committee
     determines otherwise or as permitted by the Bankruptcy Court. In all cases, Holders should
     allow sufficient time to assure timely delivery. No Ballot should be sent to any party other
     than the Voting Agent at the address above.

6.   If multiple Ballots are received from an individual Holder with respect to the same Claim
     prior to the Voting Deadline, the last Ballot timely received will supersede and revoke any
     previously received Ballot.

7.   The Ballot is not a letter of transmittal and may not be used for any purpose other than to
     vote to accept or reject the Plan and to make certain certifications with respect thereto.

8.   The Ballot does not constitute, and shall not be deemed to be: (a) a proof of claim or interest;
     or (b) an assertion or admission with respect to any claim or interest.

9.   Please be sure to sign and date your Ballot. If you are completing the Ballot on behalf of an
     Entity, indicate your relationship with that Entity and the capacity in which you are signing.

10. You must vote your entire Class 4 Claim either to accept or reject the Plan and may not
    split your vote. Accordingly, a Ballot that partially rejects and partially accepts the Plan
    will not be counted.

11. Any Ballot that is properly completed, executed, and timely returned to the Voting Agent
    that fails to indicate acceptance or rejection of the Plan or that indicates both an acceptance
    and a rejection of the Plan will not be counted.


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12. The following Ballots will not be counted in determining the acceptance or rejection of
    the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
    identification of the Holder; (b) any Ballot cast by a Person or Entity that does not hold a
    Claim or Interest in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot;
    (d) any Ballot not marked to accept or reject the Plan, or marked both to accept and reject
    the Plan, or marked to partially reject and partially accept the Plan; and/or (e) any Ballot
    submitted by a party not entitled to cast a vote with respect to the Plan.




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    STANADYNE LLC, LLC.,1                                   Case No. 23-10207 (TMH)
                                                            (Jointly Administered)
                       Debtor.


                          CLASS 5 (CONVENIENCE CLAIMS) BALLOT
                         FOR ACCEPTING OR REJECTING COMBINED
                     DISCLOSURE STATEMENT AND PLAN OF LIQUIDATION

        PLEASE TAKE NOTICE THAT on September _, 2023, the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”)2 entered an Order granting the Motion
of the Official Committee of Unsecured Creditors (the “Committee”) (i) Approving on an Interim
Basis the Adequacy of Disclosures in the Combined Plan and Disclosure Statement (as may be
modified, amended, or supplemented from time to time, the “Plan”), (ii) Scheduling the
Confirmation Hearing and Deadline for Filing Objections, (iii) Establishing Procedures for
Solicitation and Tabulation of Votes to Accept or Reject the Combined Plan and Disclosure
Statement, and Approving the Form of Ballot and Solicitation Package, and (iv) Approving the
Notice Provisions (the “Solicitation Procedures Order”). A copy of the Solicitation Procedures
Order is available on the Bankruptcy Court’s website (ecf.deb.uscourts.gov) or upon request from
the Committee’s counsel (scerra@morrisjames.com).

        This ballot is being provided to you because records indicate that you are a Holder of a
Class 5 Claim (Convenience Claims) as of September 25, 2023 (the “Voting Record Date”), and,
accordingly, you may have a right to vote to accept or reject the Plan. This Ballot may not be used
for any purpose other than for submitting votes with respect to the Plan.

        ANY BALLOTS SUBMITTED MUST BE ACTUALLY RECEIVED NO LATER
           THAN OCTOBER 26, 2023, AT 4:00 P.M. (ET) (the “Voting Deadline”).


       Your rights are described in the Plan. Please read the Plan and follow the enclosed
voting instructions carefully before completing this ballot. You may wish to seek legal advice
concerning this Ballot, the Plan, and your treatment under the Plan.

             You must submit your ballot to Kurtzman Carson Consultants LLC, the Committee’s


1         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings,
Inc. (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White
Street, Jacksonville, North Carolina 28546.
2
             Capitalized terms used but not otherwise defined herein shall have meanings ascribed to them in the Plan.
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Voting Agent (the “Voting Agent”), by mail, hand delivery or overnight delivery to the address
below. Alternatively, Ballots may be submitted through the Voting Agent’s online Ballot
submission portal at


                https://www.kccllc.net/stanadyne
          The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you
if it is accepted by the Holders of at least two-thirds in amount and more than one-half in number
of claims in at least one class that votes on the Plan and if the Plan otherwise satisfies the
requirements for confirmation provided by section 1129(a) of the Bankruptcy Code.

     THIS BALLOT MUST BE ACTUALLY RECEIVED BY 4:00 P.M. (EASTERN
TIME) ON OCTOBER 26, 2023.

         If the Bankruptcy Court confirms the Plan, it will bind you regardless of whether you have
voted.

       No person has been authorized to give any information or advice, or to make any
representation, other than what is included in the materials delivered with this ballot.

       Your rights are described in the Plan. Please read and follow the enclosed voting
instructions carefully before completing this ballot.

Item 1.      Amount of Class 5 Claim (Convenience Claims)

       The undersigned hereby certifies that as of September 25, 2023, the undersigned was the
owner (or authorized signatory for an owner) of a Convenience Claims in the following principal
amount (insert amount in box below).


                           $ ___________________________________


Item 2.      Vote of Class 5 Claim

         The Holder of the Class 5 Claim set forth in Item 1 votes to (please check one):

          Accept the Plan (votes FOR)                   Reject the Plan (votes AGAINST)
                        ☐                                                ☐




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Item 3.     Opting Out of Class 5/ into Class 4

        At any time prior to the Voting Deadline, any Holder of a Convenience Class Claim (which
is, by definition, asserted for $20,000 or less) may opt into Class 4 to have its Claim treated as a
General Unsecured Claim. Upon such election, the amount of the Claim on the Effective Date
will be deemed Disputed. As such, the Holder of such a Claim will not receive a Distribution on
the Effective Date and will only receive a Distribution in accordance with the treatment of Class
4 Claims after the Claim is Allowed. For the avoidance of doubt, a Holder of a Claim that is eligible
to and does properly opt out of Convenience Class will, after the Claim is Allowed, be entitled to
receive a Distribution Pro Rata to other Class 4 Claims.


       You do not need to check the box below if you elect to have your Claim treated as a
Class 4 Convenience Claim.

           I elect to have my Claim treated as a Class 4 General Unsecured Claim
                                                ☐



 Item 4.    Certifications.

Upon execution of this Ballot, the undersigned certifies that:

1.         as of the Voting Record Date, the undersigned was the owner (or authorized signatory
           for an owner) of a Class 5 Claim in the amount set forth in Item 1;

2.         the Holder is eligible to be treated as the Holder of the Class 5 Claim set forth in Item
           1 for the purposes of voting on the Plan;

3.         the Holder has received a copy of the Solicitation Package and acknowledges that the
           solicitation is being made pursuant to the terms and conditions set forth therein;

4.         the Holder has not relied on any statement made or other information received from
           any person with respect to the Plan other than the information contained in the
           Solicitation Package or other publicly available materials;

5.         the Holder understands and acknowledges that only the latest-dated Ballot cast and
           actually received by the Voting Deadline with respect to the Class 5 Claim set forth in
           Item 1 will be counted, and, if any other Ballot has been previously cast with respect
           to the Class 5 Claim set forth in Item 1, such other Ballot shall be deemed revoked;

6.         the Holder understands and acknowledges that the Debtor shall verify the amount of
           the Class 5 Claim held by the Holder as of the Voting Record Date set forth in Item 1.




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7.        the Holder understands and acknowledges that all authority conferred or agreed to be
          conferred pursuant to this Ballot, and every obligation of the Holder hereunder, shall
          be binding upon the transferees, successors, assigns, heirs, executors, administrators,
          and legal representatives of the Holder and shall not be affected by, and shall survive,
          the death or incapacity of the Holder.
Holder Information and Signature.

Name of Holder: _______________________________________________________________
                                          (print or type)
                                            (optional)
Signature: _____________________________________________________________________

Name of Signatory: _____________________________________________________________
                                       (if other than Holder)

Title:   ______________________________________________________________________

Address: ______________________________________________________________________

         ______________________________________________________________________

         ______________________________________________________________________

Date Completed: ______________________________________________________________

      PLEASE COMPLETE, SIGN, AND DATE THE BALLOT AND RETURN IT
     PROMPTLY BY MAIL, HAND DELIVERY OR OVERNIGHT DELIVERY TO

                             Stanadyne Ballot Processing
                                       c/o KCC
                       222 N. Pacific Coast Highway, Suite 300
                                El Segundo, CA 90245
                            U.S./Canada: (866) 967-0675
                            International: (310) 751-2675

      Alternatively, Ballots may be submitted through the Voting Agent’s
online Ballot submission portal at https://www.kccllc.net/stanadyne

    THIS BALLOT MUST BE ACTUALLY RECEIVED BY THE VOTING DEADLINE,
WHICH IS 4:00 P.M. (Eastern TIME) ON OCTOBER 26, 2023.




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     IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
       INSTRUCTIONS, PLEASE CALL THE UNDERSIGNED COUNSEL FOR THE
                               COMMITTEE.

           VOTING INSTRUCTIONS FOR CLASS 5 (CONVENIENCE CLAIMS)

1.     As described in the Plan, the Committee is soliciting the votes of Holders of Class 3 Claims
       with respect to the Plan. The Plan is included in the Solicitation Package you are receiving
       with the Ballot. Capitalized terms used but not defined herein shall have the meanings
       assigned to them in the Plan.

2.     The Plan can be confirmed by the Bankruptcy Court and thereby made binding upon you if
       it is accepted by the Holders of at least two-thirds in amount and more than one-half in
       number of claims in at least one class that votes on the Plan and if the Plan otherwise satisfies
       the requirements for confirmation provided by section 1129(a) of the Bankruptcy Code.

3.     To ensure that your vote is counted, you must: (a) complete the Ballot; (b) indicate your
       decision either to accept or reject the Plan in Item 3 of the Ballot; and (c) sign and return
       the Ballot in accordance with the instructions on the Ballot so that it is actually received
       by the Voting Deadline.

4.     The time by which a Ballot is actually received by the Voting Agent shall be the time
       used to determine whether a Ballot has been submitted by the Voting Deadline. The
       Voting Deadline October 26, 2023 at 4:00 p.m. (Eastern Time).

5.     If a Ballot is received after the Voting Deadline, it will not be counted unless the Committee
       determines otherwise or as permitted by the Bankruptcy Court. In all cases, Holders should
       allow sufficient time to assure timely delivery. No Ballot should be sent to any party other
       than the Voting Agent at the address above.

6.     If multiple Ballots are received from an individual Holder with respect to the same Claim
       prior to the Voting Deadline, the last Ballot timely received will supersede and revoke any
       previously received Ballot.

7.     The Ballot is not a letter of transmittal and may not be used for any purpose other than to
       vote to accept or reject the Plan and to make certain certifications with respect thereto.

8.     The Ballot does not constitute, and shall not be deemed to be: (a) a proof of claim or interest;
       or (b) an assertion or admission with respect to any claim or interest.

9.     Please be sure to sign and date your Ballot. If you are completing the Ballot on behalf of an
       Entity, indicate your relationship with that Entity and the capacity in which you are signing.

10. You must vote your entire Class 3 Claim either to accept or reject the Plan and may not
    split your vote. Accordingly, a Ballot that partially rejects and partially accepts the Plan
    will not be counted.




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11. Any Ballot that is properly completed, executed, and timely returned to the Voting Agent
    that fails to indicate acceptance or rejection of the Plan or that indicates both an acceptance
    and a rejection of the Plan will not be counted.

12. The following Ballots will not be counted in determining the acceptance or rejection of
    the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
    identification of the Holder; (b) any Ballot cast by a Person or Entity that does not hold a
    Claim or Interest in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot;
    (d) any Ballot not marked to accept or reject the Plan, or marked both to accept and reject
    the Plan, or marked to partially reject and partially accept the Plan; and/or (e) any Ballot
    submitted by a party not entitled to cast a vote with respect to the Plan.




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